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                                                                            14
                                                                                                      UNITED STATES DISTRICT COURT
                                                                            15
                                                                                      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                            16

                                                                            17 Craftwood II, Inc., et al.,                   Case No. 8:17-cv-00606 (DOC) (KES)
                                                                            18               Plaintiff,                      Hon. David O. Carter
                                                                            19         v.                                    Joint Stipulation to Stay Case
                                                                            20 Wurth Louis & Company, et al.,
                                                                                                                             Pre-Trial Conf.:   November 16, 2018
                                                                            21               Defendant.                      Time:              7:30 A.M.
                                                                                                                             Courtroom:         9D
                                                                            22

                                                                            23                                               Trial Date:        December 4, 2018
                                                                                                                             Time:              8:30 A.M.
                                                                            24                                               Courtroom:         9D
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                                                                                                             JOINT STIPULATION TO STAY CASE
                                      Case 8:17-cv-00606-DOC-KES Document 166 Filed 11/02/18 Page 2 of 3 Page ID #:4247




                                                                             1        On October 16, Plaintiff Craftwood II (“Craftwood”) filed a motion for
                                                                             2 reconsideration of the Court’s order denying class certification and requested an

                                                                             3 emergency stay pending a decision on the motion and its anticipated Rule 23(f)

                                                                             4 petition. The Court denied the application for an emergency stay, but was willing

                                                                             5 to further consider a stay at the parties’ upcoming pre-trial conference currently set

                                                                             6 for November 16, 2018. (Dkt. 153 at 2.)

                                                                             7

                                                                             8        On November 1, 2018, the Court denied Craftwood’s motion for
                                                                             9 reconsideration of the denial of class certification. This case is now established as a

                                                                            10 single-plaintiff claim under the Telephone Consumer Protection Act, unless reversed

                                                                            11 by the Ninth Circuit.
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                                                                            12
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                                                                            13        Craftwood’s individual claim arises from approximately 18 faxes Craftwood
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                                                                            14 contends were sent by Defendant Wurth Louis and Company (“Wurth Louis”), with

                                                                            15 base statutory damages of at most $9,000. The parties agree that the value of the

                                                                            16 individual case is drastically outweighed by the cost of taking the matter to trial, and

                                                                            17 also do not wish to burden this Court and a jury with such a small matter if it can be

                                                                            18 avoided. In addition, Wurth Louis believes that it is not financially beneficial for

                                                                            19 the company to take this matter to trial either.

                                                                            20

                                                                            21        The parties now request a stay to avoid the continued pre-trial expenses, trial
                                                                            22 expenses and to preserve judicial economy. Although the parties naturally disagree

                                                                            23 as to the merits of such an appeal, both parties agree that Plaintiff has a right to take

                                                                            24 one, a fact which was also acknowledged by this Court. (Tr. 7:11-18.)

                                                                            25

                                                                            26        The parties therefore request that the pre-trial conference currently set for
                                                                            27 November 16, 2018, all pretrial activities currently scheduled, and the trial be

                                                                            28 continued or taken off-calendar in order for Plaintiff to be able to present its appeal
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                                                                                                             JOINT STIPULATION TO STAY CASE
                                      Case 8:17-cv-00606-DOC-KES Document 166 Filed 11/02/18 Page 3 of 3 Page ID #:4248




                                                                             1 to the Ninth Circuit Court of Appeal as is its right at this point in the case.

                                                                             2

                                                                             3             So Stipulated.
                                                                             4

                                                                             5

                                                                             6    DATED: November 2, 2018                   PAYNE & FEARS LLP
                                                                             7                                              /s/ Scott O. Luskin
                                                                                                                      By:
                                                                             8                                              C. Darryl Cordero
                                                                             9
                                                                                                                            Scott O. Luskin
                                                                                                                            Attorneys for Plaintiff, Craftwood II., Inc.
                                                                            10
                                                                                  DATED: November 2, 2018                   KING & SPALDING LLP
                                                                            11
PAYNE & FEARS LLP




                                                                                                                            /s/ Livia M. Kiser
                    400 CONTINENTAL BOULEVARD, SUITE 600




                                                                            12                                        By:
                         EL SEGUNDO, CALIFORNIA 90245




                                                                                                                            Livia M. Kiser
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                                                                                                                            Attorneys for Defendant Wurth Louis and
                                                           (310) 689-1750




                                                                            14                                              Company
                                                                            15   4815-4811-2506 v.1


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                                                                                                             JOINT STIPULATION TO STAY CASE
